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                           IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF KANSAS

ANIMAL LEGAL DEFENSE                           )
FUND, et al.,                                  )
                                               )
                           Plaintiffs,         )
                                               )
                           v.                  )       Case No. 18-2657-KHV-JPO
                                               )
LAURA KELLY, et al.,                           )
                                               )
                           Defendants.         )
                                               )



             MEMORANDUM IN SUPPORT OF PLAINTIFFS’ BILL OF COSTS


        Plaintiffs Animal Legal Defense Fund (“ALDF”), Center for Food Safety (“CFS”), Shy

38, Inc. (“Shy”), and Hope Sanctuary (“Hope”) hereby respectfully submit this Memorandum in

Support of Plaintiffs’ Bill of Costs, pursuant to 28 U.S.C § 1920, F.R.C.P. 54(d)42, and Local

Rule 54.1.1 The requested Bill of Costs for $800.00 is appropriate because Plaintiffs prevailed on

the merits of this case.

                                  Background and Procedural History

        Final judgment in this matter was entered on April 3, 2020, when this Court entered a

permanent injunction barring the enforcement of Kan. Stat. §§ 47-1827(b), 47-1827(c)(1), (c)(2),

(c)3, and (c)(4), and 47-1827(d)(1),. Animal Legal Def. Fund v. Kelly, No. CV 18-2657-KHV,

2020 WL 1659855, at *3 (D. Kan. Apr. 3, 2020), Dkt. #73 (“Kelly II”). Thus, Plaintiffs are the

prevailing party.

                                             Argument

        1
         Plaintiffs have filed a separate Motion for Attorneys’ Fees and Costs pursuant to 42
U.S.C. § 1988.


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       Plaintiffs seek to recover their costs under and costs under 28 U.S.C. § 1920.

Specifically, Plaintiffs seek reimbursement for the $400 initial filing fee for this lawsuit and

$400 for the pro hac vice fees for out-of-town lawyers who worked on the case, which fees were

paid by local counsel’s firm, Foley & Mansfield, PLLP. See Bill of Costs, Exhibit A (receipt for

filing fee); Bill of Costs, Exhibit B (receipts for pro hac vice fees). These costs are taxable to

Defendants under 28 U.S.C. § 1920(1) (“A judge or clerk of any court of the United States may

tax as costs the following: (1) Fees of the clerk and marshal”). Plaintiffs’ counsel have

previously attempted to negotiate attorneys’ fees and costs with Defendants’ counsel but were

unable to come to an agreement.

       For the foregoing reasons, Plaintiffs respectfully request that the Court award Plaintiffs’

$800.00 in costs to be taxed to the Defendants.


Dated this 6th day of May, 2020


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                                  Counsel for Plaintiffs




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                                       Certificate of Service

       I hereby certify that on this date, I electronically filed the with the Clerk of Court the
following documents:

Plaintiffs’ Memorandum in Support of Bill of Costs

Bill of Costs

Exhibit A, Receipt for Initial Filing Fee

Exhibit B, Receipts for Pro Hac Vice Fees

by using the CM/ECF system.

       All participants in this case are registered CM/ECF users and will served by the CM/ECF
system.

Date: May 6, 2020

                                                        /s/ Michael D. Moss




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